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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE



TIMOTHY NOLL,                             )
                                          )
              Plaintiff,                  )
                                          )
       v.                                 )             1:15-cv-00493-LEW
                                          )
FLOWERS FOODS INC., et al.,               )
                                          )
              Defendants.                 )


                                       JUDGMENT


       Pursuant to the January 29, 2020 Summary Judgment Order and the August 3, 2020

Order on Defendants’ Motion for Decertification of FLSA Collective Action, entered by

U.S. District Judge Lance E. Walker:

       JUDGMENT is hereby entered for defendants Flowers Foods Inc., Lepage Bakeries

Park Street LLC, and CK Sales Co. LLC as against the plaintiff Timothy Noll and the Opt-

in Plaintiffs on the state law claims asserted in Counts II, III and IV. Furthermore, as to

Plaintiff Timothy Noll, JUDGMENT is hereby entered for defendants Flowers Foods Inc.,

Lepage Bakeries Park Street LLC, and CK Sales Co. LLC as against the federal claims

asserted in Counts I and II. As to the Opt-In Plaintiffs, JUDGMENT is hereby entered

dismissing their federal claims, WITHOUT PREJUDICE.

       Because the decertification ruling impacts the Op-in Plaintiffs’ rights by un-tolling
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the limitation period for their FLSA claims, 1 Plaintiff Noll is ORDERED to provide the

Opt-in Plaintiffs notice of this Judgment on or before the expiration of Plaintiff Noll’s time

for filing a notice of appeal. 2



                                                            CHRISTA K. BERRY
                                                            CLERK

                                                   By:      /s/Meaghan Hand
                                                            Deputy Clerk

Dated: August 4, 2020




1
 See 7B CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FED. PRAC. & PROC. § 1807 (3d ed.);
cf. Hall v. Variable Annuity Life Ins. Co., 727 F.3d 372, 375 (5th Cir. 2013).
2
 Should Plaintiff Noll request it, I will grant a motion to extend the time in which to file a notice of appeal,
pursuant to Fed. R. App. P. 4(a)(5).
